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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                                  EASTERN DISTRICT OF CALIFORNIA
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        JOSE TRINIDAD LOPEZ,                )                CV F 05-0665 AWI
11                                          )                (CR F 02-5050 AWI)
                          Petitioner,       )
12                                          )                ORDER GRANTING LEAVE
              v.                            )                TO SUBMIT MEMORANDUM
13                                          )                OF POINTS AND
        UNITED STATES OF AMERICA,           )                AUTHORITIES
14                                          )
                          Respondent.       )
15      ____________________________________)                (28 U.S.C. § 2255)
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18          This is a petition for writ of habeas corpus pursuant to 28 U.S.C., section 2255 by
19   petitioner Jose Trinidad Lopez (“Petitioner”) challenging his sentence of 235 months
20   imprisonment following his conviction by jury trial for conspiracy to manufacture and distribute
21   methamphetamine and aiding and abetting. The petition was filed on May 23, 23, 2005. On the
22   same date, Petitioner filed the instant request for leave to file a memorandum of points and
23   authorities, citing the need to provide additional factual information and to cite relevant case law.
24   Petitioner requests an additional thirty-day period in which to file affidavits and a memorandum
25   of points and authorities.
26          Although Rule 2 of the Federal Rules on Section 2255 Proceedings provides that a
27   motion for habeas relief pursuant to section 2255 must “substantially follow either the form
28   appended to these rules or a form prescribed by a local district-court rule,” there is no provision
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 1   that restricts a petitioner’s submissions to only those forms. This court and other district courts
 2   of the Ninth Circuit routinely allow the submission of additional materials, including affidavits
 3   and memoranda of points and authorities. See, e.g., Whittaker v. United States, 325 F.Supp. 369,
 4   370 (C.D. Cal. 1971); United States v. Gallardo, 915 F.Supp.216 (D. Nev. 1995).
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 6            THEREFORE, good cause appearing, the court hereby GRANTS Petitioner’s request for
 7   leave to file a memorandum of additional points and authorities. Such memorandum shall be
 8   filed and served no later than thirty (30) days from the date of service of this order.
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11   IT IS SO ORDERED.
12   Dated:      July 8, 2005                            /s/ Anthony W. Ishii
     h2ehf                                         UNITED STATES DISTRICT JUDGE
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